Case 8:22-cv-01660-AEP   Document 77-1   Filed 07/20/23   Page 1 of 3 PageID 947




                 EXHIBIT A
            Case 8:22-cv-01660-AEP                            Document 77-1                   Filed 07/20/23    Page 2 of 3 PageID 948

 From:                     Chris Wolf <CWolf@waterstonemortgage.com>
 Sent:                     Thursday, June 9, 2022 2:29 PM
 To:                       Cody Lamb <clamb@mutualmortgage.com>; Fred Stalls
                           <FStalls@MutualMortgage.com>
 Subject:                  RE: Mcintosh


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 sender, clicking links or opening attachments.

 All 5 received.

 Thank you,

                                   Chris Wolf
                                   Branch Manager
                                   NMLS #1626538
                                   900 W. Granada Blvd, Suite 4, Ormond Beach, FL 32174
                                   M: 321.278.9930 O: 386.401.7228
                                   F: 386.866.5804 TF: 800.354.1149
                                   Email: CWolf@WaterstoneMortgage.com
                                   Visit My Website

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                      ESAS                                   Get Mobile App

                                  if you have any friends, family, or co-workers looking to buy,
                                  sell, or refinance, | would love the opportunity to help them.
                                  Your referral is the greatest compliment.

122     ecu: Housing
 subsidiary
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 email to Info@WaterstoneMortgage.com and delete or destroy all copies of the original message and
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 Electronic Signatures in Global and National Commerce Act (“E-Sign”) unless a specific statement to the
 contrary is included in this message.



 From: Cody Lamb <clamb@mutualmortgage.com>
 Sent: Thursday, June 9, 2022 2:18 PM
 To: Fred Stalls <FStalls@MutualMortgage.com>
 Ce: Chris Wolf <CWolf@waterstonemortgage.com>
 Subject: RE: Mcintosh

  EXTERNAL EMAIL: Use Caution!


 5th Email    —

                  Last email


 Thanks!




                                                                                                                                 MOM-0000238
            Case 8:22-cv-01660-AEP                   Document 77-1        Filed 07/20/23   Page 3 of 3 PageID 949

                                 Cody Lamb
                                 Mortgage Loan Originator Assistant
                                 Mobile: (217) 251-5880
                                 Office:                Ext: 7018
                                 Fax: (630) 210-3650
                                 4902 Eisenhower Boulevard, Suite 385
                                 Tampa, FL 33634
                                 NMLS # 243081




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                                                    MORTGAGE


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From: Fred Stalls <FStalls@MutualMortgage.com>
Sent: Wednesday, June 8, 2022 8:43 PM
To: Cody Lamb <clamb@mutualmortgage.com>
Cc: cwolf@waterstonemortgage.com
Subject: Mcintosh

Cody this is Chris’s email. Please send over docs when you get a chance. 4 sets of co-borrowers. Call with
        —




questions
  il                              Fred Stalls
                                  Mortgage Loan Originator
                                  Office: (772) 985-2894
                                  Fax: (630) 210-3601
                                  4902 Eisenhower Boulevard, Suite 385
                                  Tampa, Florida 33634
                                  NMLS # 1140620
                                   https://socialsurvey.me/pages/fred-stalls
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